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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION


 JOHN DOE, individually and on behalf of all        )
 others similarly situated,                         )
                                                    )
       Plaintiff,                                   )
                                                    )      Case No. 1:24-cv-04125-JRB-JC
 v.                                                 )
                                                    )
                                                    )      Honorable John Robert Blakey
 NORTHWESTERN UNIVERSITY,                           )
                                                    )
                                                    )
        Defendant.                                  )
                                                    )


                                 JOINT INITIAL STATUS REPORT

         Plaintiff John Doe (“Plaintiff”) and Defendant Northwestern University (“Northwestern”)

by and through their attorneys, have conferred as required by the Court’s May 21, 2024 Order

(Dkt. No. 6) and jointly submit the following Initial Status Report.

Service of Process

         Northwestern was served with the Complaint on May 22, 2024. See Dkt. No. 7. The parties

have agreed that Northwestern may answer or otherwise respond to the Complaint by July 22,

2024.

Nature of the Case

         a. Attorneys of record, and lead trial counsel, for each party.

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       b. Basis for federal jurisdiction.

       The Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1343 over claims

arising under Title VI. The Court also has jurisdiction pursuant to the Class Action Fairness Act

(“CAFA”), 28 U.S.C. § 1332(d). In addition, the Court has supplemental jurisdiction over

Plaintiff’s state law claim under 28 U.S.C. § 1367(a) because those claims arise out of the same

case or controversy as Plaintiff’s federal claim.




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       c. Nature of the claim(s) and any counterclaim(s), or affirmative defense(s).

       Plaintiff alleges that he is an openly Jewish graduate student enrolled in Northwestern

Weinberg College of Arts & Science. Plaintiff alleges that he and other Jewish students have

experienced severe and pervasive harassment and discrimination at Northwestern since October 7,

2023, which Northwestern was deliberately indifferent to and failed to take reasonable steps to

address. In particular, Plaintiff alleges that Northwestern permitted students, employees, and

persons unaffiliated with Northwestern to shout and spread antisemitic vitriol on campus which

was directed at Plaintiff and other Jewish students based on their shared ancestry and ethnic

identity as Jews. Plaintiff alleges that Northwestern was aware of such antisemitic conduct directed

at Jewish students and knowingly allowed it to continue on campus. Accordingly, Plaintiff alleges

that he and other Jewish students at Northwestern have been denied equal access to Northwestern

educational opportunities and equal access to Northwestern’s campus. Plaintiff alleges that

Northwestern’s conduct violates Title VI of the Civil Rights Act of 1964 (42 U.S.C. § 2000d et

seq.) and constitutes a breach of the contract entered into by Plaintiff and Northwestern at the time

of enrollment.

       Northwestern disputes the allegations of the Complaint and both theories of liability.

Northwestern contends it did not discriminate against its Jewish students or unfairly deny them

access to classrooms and campus resources during the political protests at Northwestern’s

Evanston campus following the horrific events of October 7, 2023. Northwestern also disputes

that any of the statements from the various student policies, websites, and other documents quoted

in the Complaint can form the basis for a contract. Northwestern further contends that its students

do not have an implied contract with the University to protect them against unwelcome political

speech or to provide them unencumbered access to classrooms and other campus activities during




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demonstrations by other students, and even if there is such an implied agreement, Northwestern

did not breach it. Northwestern further disputes Plaintiff’s allegation that such speech created a

hostile environment that is actionable under Title VI or that the University’s response to the

political protests on campus was deliberately indifferent, as required under governing legal

standards. Finally, Northwestern disputes that there is any need for injunctive relief since the

encampment referenced in the Complaint has been removed and disciplinary proceedings against

students who violated the University’s Student Code of Conduct are ongoing.

       d. State the major legal and factual issues anticipated in the case.

       Plaintiff anticipates the following major legal and factual issues in the case:

       •       The extent to which Jewish students faced a hostile environment and discrimination
               at Northwestern based on their actual or perceived shared ancestry or ethnic identity
               as Jews.

       •       Northwestern’s knowledge concerning the hostile environment and discrimination
               Jewish students faced on campus.

       •       Northwestern’s response to antisemitism on its campus.

       •       Whether the Northwestern Student Handbook, demonstration policy, and anti-
               discrimination policies, among other Northwestern policies governing conduct on
               campus, are implied terms of the contract formed between Plaintiff and
               Northwestern at the time of enrollment.

       •       Whether Northwestern ignored violations of its Student Handbook when the
               prohibited conduct concerned Jewish victims and antisemitism.

       •       The extent to which Plaintiff and other Jewish students were denied equal access to
               Northwestern educational opportunities and equal access to Northwestern’s
               campus.

       •       Whether Northwestern violated Title VI of the Civil Rights Act of 1964 by allowing
               and/or failing to address the hostile environment and discrimination Jewish students
               faced on campus.

       •       Whether Plaintiff is entitled to injunctive relief, including as demanded in
               paragraph 17 of the Complaint (Dkt. No. 1). and

       •       Plaintiff’s injuries caused by Northwestern’s conduct alleged in the complaint.


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      Northwestern anticipates the following major factual and legal issues in the case:

      •      Whether the statements from Northwestern’s Student Handbooks, policies, and
             websites quoted in the complaint can form the basis for an express contract.

      •      Whether there is an implied contract between Northwestern and its students.

      •      The scope of any contract between Northwestern and its students, including
             whether that contract gives Plaintiff and members of the putative class the right to
             demand that Northwestern terminate employees, discipline other students, enforce
             its Student Code of Conduct, provide unfettered access to classrooms and campus
             facilities, and ensure that students are not subject to hateful speech and conduct.

      •      Whether the conduct alleged is sufficient to establish a hostile environment under
             Title VI and whether the Northwestern’s response to the protests on campus was
             deliberately indifferent.

      •      Whether members of the putative class are ascertainable given that Northwestern
             does not track the religious affiliation of its students or the identities of students
             who participated in the anti-Israel protests or were injured as a result thereof.

      •      Whether the Plaintiff is an adequate and typical class representative.

      •      Whether Plaintiff’s claims raise common issues that will predominate over
             individual issues affecting the claims of members of the putative class.

      •      Whether Plaintiff and members of the putative class suffered a cognizable injury as
             a result of Northwestern’s purported actions.

      •      Whether the damages sought by Plaintiff and members of the putative class are
             calculable and/or are barred by the educational malpractice doctrine.

      •      Whether Plaintiff’s claims are ripe in light of Northwestern’s ongoing efforts to
             combat antisemitism and because disciplinary proceedings against students who
             violated the University’s Student Code of Conduct are ongoing.

      •      Whether Plaintiff has standing to obtain injunctive relief, the scope of that relief
             and the practicability of Northwestern providing such relief.

      e. Describe the type and calculation of damages and any other relief sought by
         Plaintiff.

      Plaintiff seeks on behalf of himself and a Class comprised of Jewish students enrolled at

Northwestern at the Evanston campus for the 2023-2024 academic year (as further defined in



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¶¶ 320-321 of the Complaint): (i) a declaration that Northwestern’s actions, as alleged in the

Complaint, violate Title VI and constitute a breach of contract; (ii) an award of compensatory and

punitive damages in an amount to be determined at trial; and (iii) an order compelling it to

implement institutional and concrete remedial measures, including: (a) investigating and taking

disciplinary measures, including termination, against deans, administrators, professors, and other

employees responsible for the antisemitic abuse permeating Northwestern leading to the

intolerable hostile environment, whether because they engaged in it or permitted it;

(b) investigating and taking disciplinary measures, including suspension or expulsion, against

students and student organizations who engaged in such conduct; (c) implementing required

antisemitism training for Northwestern community members; (d) investigating all instances of

antisemitism that occurred at the April 25-29, 2024 unauthorized encampment on Northwestern’s

campus; and (e) appointing a neutral expert monitor to oversee compliance with this Court’s order,

Northwestern anti-discrimination and -harassment policies, and Title VI.

       Plaintiff also seeks class certification pursuant to Federal Rule of Civil Procedure 23(b)(2)

and (b)(3).

       Northwestern disputes that Plaintiff or members of the putative class suffered a cognizable

injury under Article III or Title VI.     Until the identity of the name Plaintiff is revealed,

Northwestern will not know whether he is an adequate representative to represent the putative

class. Regardless, Northwestern contends that this case is not appropriate for class treatment under

either Rule 23(b)(2) or (3).

Pending Motions and Case Plan

              a. Identify all pending motions.

       No motions are currently pending.




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           b. Proposal for discovery and a case management plan:

               1) The general type of discovery needed, including any potential electronic
               discovery or bifurcated discovery;

       Plaintiff will seek the production of documents and testimony from Defendant and third-

parties relating to, inter alia, Northwestern’s Title VI policies and enforcement of the same;

Northwestern’s policies governing the conduct of students, faculty, administrators, employees and

third parties at Northwestern and enforcement of the same, reports of antisemitism on

Northwestern’s campus, Northwestern’s response, if any, to reports of antisemitism. Plaintiff

believes discovery will encompass ESI. At this time, Plaintiff is not aware of any disagreements

regarding disclosure or discovery of ESI but will meet and confer regarding any such issues as

soon as practicable in accordance with the Seventh Circuit Electronic Discovery Committee’s

Principles Relating to the Discovery of Electronically Stored Information. Plaintiff does not

believe bifurcated discovery is appropriate in this case.

       Plaintiff does not believe delaying a Rule 26(f) conference or the action as a whole on the

basis of the State Court Action (defined below) is warranted. Defendant has yet to move to remove

the State Court Action to federal court and the outcome of such a motion if ever filed is unknown.

Indeed, an initial status conference in the State Court Action will not be held until August 30,

2024. Further, the State Court Action is narrowly focused on its sole breach of contract claim

pertaining to the April 2024 unauthorized demonstration called the “Liberated Zone,” whereas this

lawsuit includes a Title VI claim and relates to Northwestern’s conduct before and after the

Liberated Zone demonstration. Accordingly, there is no basis to delay this action for an

indeterminate amount of time based on the State Court Action.




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          Northwestern anticipates filing a motion to dismiss under Federal Rules 12(b)(1) and

12(b)(6). Because that motion should dispose of all the claims in the case, Defendant will move to

stay any discovery before the Court resolves that motion.

          Northwestern will also move to consolidate this case with a related case recently filed

against Northwestern in the Circuit Court of Cook County, Illinois alleging similar facts and an

identical breach of implied contract claim on behalf of a similar class of Jewish students, Doe 1 et

al v. Northwestern University, No. 2024-CH-04027 (Cir. Ct. Cook Cnty. May 1, 2024) (the “State

Court Action”). Assuming that consolidation occurs, Northwestern believes that the Plaintiffs in

both cases will need to coordinate discovery with Northwestern. Northwestern therefore believes

that a full Rule 26(f) conference is premature. The parties should not set a schedule for discovery

until after Northwestern responds to the current Complaint on July 22, 2024 or any amended,

consolidated complaint, assuming the claims proceed past the Motion to Dismiss stage.

          When discovery does commence, Northwestern intends to seek discovery from the Plaintiff

regarding his specific interactions with protestors.         Northwestern will also seek discovery

regarding Plaintiff’s alleged fear of ongoing harm and corresponding need for future injunctive

relief.

                 2) A date for Rule 26(a)(1) disclosures;

          Plaintiff proposes Rule 26(a)(1) disclosures to be exchanged by June 26, 2024.

          Northwestern proposes that Rule 26(a)(1) disclosures be exchanged two weeks after the

Plaintiffs file a consolidated complaint.

                 3) A date to issue written discovery;

          Plaintiff proposes written discovery to be exchanged by July 17, 2024.

          Northwestern believes that it is too early to set a date for issuing written discovery for two

reasons. First, Northwestern intends to move to stay discovery until the Court resolves its


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forthcoming motion to dismiss. Second, as noted above, Northwestern intends to move to

consolidate this action with a related action. The parties cannot intelligently proceed with

discovery until there is a consolidated complaint setting for the allegations and claims at issue.

               4) The need for, and content of, any proposed confidentiality orders, in
               accordance with the Local Rules for the Northern District of Illinois (parties
               should start with the model confidentiality order, file a motion seeking entry
               of the order, and send a redlined version and a clean Word version to
               proposed order blakey@ilnd.uscourts.gov);

       The parties believe a confidentiality order consistent with the model order of the Northern

District of Illinois is necessary. The parties believe the Court may need to enter an order pursuant

to the Federal Educational Rights and Privacy Act (“FERPA”) and will propose a form of such

order to Plaintiffs based on similar orders entered here in the Northern District of Illinois in

putative class actions involving students. Further, Plaintiff intends to file a Motion to Proceed

Pseudonymously.

               5) The need for, and content of, any Health Insurance Portability and
               Accountability Act (HIPAA) waivers;

       The parties do not anticipate the need for HIPAA waivers at this time.

               6) A fact discovery completion date;

       Plaintiff proposes a fact discovery completion date of December 26, 2024 (6 months from

the start of discovery). As noted in paragraph 7 below, Plaintiff believes a further scheduling order

will be necessary following a class certification decision by this Court. Consequently, Plaintiff

believes a fact discovery completion date is premature. Plaintiff does not believe Northwestern’s

proposal to bifurcate discovery between “class certification issues” and “merits and damages and

injunctive relief” is appropriate given the discovery necessary for class certification substantially

overlaps with Northwestern’s “phase two” discovery. Bifurcating discovery in the manner




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proposed by Northwestern is highly inefficient and would create discovery disputes that would

needlessly delay the action.

       Northwestern believes that it is too early to set a date for completing fact discovery for two

reasons. First, Northwestern intends to move to stay discovery until the Court resolves its

forthcoming motion to dismiss. Second, as noted above, Northwestern intends to move to

consolidate this action with a related action. The parties cannot intelligently proceed with

discovery until there is a consolidated complaint setting for the allegations and claims at issue.

Northwestern, accordingly, asks the Court to stay discovery until its Motion to Consolidate is

adjudicated.

       If the Court is not prepared to do that, Northwestern will meet and confer with Plaintiffs

regarding how they could possibly complete fact discovery in six months given the issues raised

above. Northwestern anticipates that the parties will need at least twelve months to complete

discovery. Northwestern also proposes phased discovery with the first six months focused on class

certification issues and the second phase on merits and damages and injunctive relief.

               7) Whether there will be expert discovery, and, if so, an expert discovery
               completion date (including proposed deadlines for expert disclosures and
               depositions);

       Plaintiff anticipates the need for class expert discovery and Rule 26(a)(2) expert discovery

post-class certification, and proposes the following schedules:

               •      Class Experts and Motion For Class Certification:

                      o        Plaintiff’s Motion For Class Certification, and class expert reports:
                               January 27, 2025.

                      o        Defendant’s opposition to class certification, and class expert
                               reports: March 28, 2025.

                      o        Plaintiff’s reply in support of class certification and any rebuttal
                               reports: April 28, 2025.



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        Plaintiff proposes that the parties confer within 30 days of the Court’s decision on class

certification to determine whether any additional discovery is necessary in light of the Court’s

Order, and confer regarding a proposed schedule for dispositive motions, Rule 26(a)(2) expert

disclosures, and trial.

        Assuming a consolidated complaint is filed promptly, Northwestern agrees with Plaintiff’s

proposed schedule for the disclosure of class certification experts and the filing of his Motion for

Class Certification. The parties should meet and confer about any additional merits experts after

the Court’s ruling on Plaintiff’s Motion for Class Certification.

                8) A proposed date for the filing of dispositive motions (if any); and

        Per above, the parties agree that a deadline for filing dispositive motions is not necessary

at this time.

                9) A tentative trial date.

        Per above, the parties agree that setting a trial date is premature at this juncture.

        c. With respect to trial, indicate whether a jury trial is requested and the probable

length of the trial.

        Plaintiff has demanded a jury trial, which is anticipated to last approximately 7-10 days.

        If the claims go trial on an individual basis, Northwestern would anticipate needing 2-3

trial days and, if they proceed on a class-wide basis, 10-14 days.

Consent to Proceed Before a Magistrate Judge

        The parties have discussed the advantages of a Magistrate Judge referral and the parties

decline to consent to a Magistrate Judge at this time.

Status of Settlement Discussions

        The parties have not had settlement discussions and do not believe such discussions would

be productive at this time. Accordingly, the parties do not request a settlement conference.


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Dated: June 5, 2024                                Respectfully submitted,


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